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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

WILLIAM HUGHES, JUDITH
HUGHES and ELEVATE
EXTERIORS, INC., individually

            Plaintiffs,

v.                                               Case No: 2:20-cv-497-FtM-38NPM

ACE INSURANCE COMPANY
OF THE MIDWEST,

              Defendant.
                                          /

                                        ORDER1

       Before the Court is Defendant Ace Insurance Company of the Midwest’s

Motion to Dismiss (Doc. 29). Plaintiffs William Hughes, Judith Hughes, and

Elevate Exteriors, Inc. never responded. Instead, they moved for a hearing on

Ace’s Motion. (Doc. 30). Ace responded (Doc. 31), pointing out these defects

along with Plaintiffs’ failure to confer before filing the hearing request. Both

Motions are denied.

       This is a Hurricane Irma insurance case. In a previous Order, the Court

dismissed the Hughes’ claim without prejudice for lack of standing. (Doc. 25).



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Specifically, the Court relied on the Hughes’ allegation they assigned their

claim to Elevate along with an attached assignment of benefits. Now, the

Hughes allege they only assigned part of their claim. (Doc. 26 at 3). So they

sue to recover on that basis of the retained portion.

      On a Rule 12(b)(1) facial challenge (like this one), the Court must accept

the well-pled facts as true and view them most favorable to the Hughes. See

Lawrence v. Dunbar, 919 F.2d 1525, 1529 (11th Cir. 1990).             While the

assignment attached to the Complaint contains unequivocal assignment

language, the clause preceding it could be read to narrow the scope to just the

“roof and related items.” (Doc. 26-1). This would be consistent with the new

allegations that the Hughes kept part of their claim. As much as the Court

can consider the Hughes’ explanation in the hearing request, they clarify their

claims are outside the scope of the assignment. Accepting and viewing the

facts most favorably to the Hughes, the Court concludes they now allege

standing sufficient to withstand a facial challenge. So they can proceed on a

cause of action for the retained part of their insurance claim.

      The Court notes, however, this confusion is entirely Plaintiffs doing.

Plaintiffs never responded to Ace’s first motion to dismiss. Nor have they

effectively opposed this one. A mere request for a hearing does not respond to

a motion. Local Rule 3.01(b) (“Each party opposing a motion or application

shall file within 14 days after service of the motion or application a response.”




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(emphasis added)). The only way for an opposing party to even request a

hearing in the Middle District is by doing so alongside a response. Local Rule

3.01(j) (“Requests for oral argument shall accompany the motion, or the

opposing brief or legal memorandum.”).        Unlike state court, hearings are

discretionary and rare in federal court on a routine motion to dismiss. Local

Rule 3.01(j). The Hughes are not pro se—they have a lawyer. And going

forward, the Court expects counsel to do their job, which includes responding

to dispositive motions on behalf of their client.

      Accordingly, it is now

      ORDERED:

      1. Defendant’s Motion to Dismiss Plaintiffs’ Second Amended Complaint

         (Doc. 29) is DENIED.

      2. Plaintiffs’ Motion Requesting Hearing on Defendant’s Motion to

         Dismiss Plaintiffs’ Second Amended Complaint (Doc. 30) is DENIED.

      DONE and ORDERED in Fort Myers, Florida on January 27, 2021.




Copies: All Parties of Record




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